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				LOCKETT v. STATE2014 OK CR 3Case Number: D-2000-1330; D-2003-829Decided: 04/18/2014CLAYTON LOCKETT and CHARLES WARNER, Appellants, v. STATE OF OKLAHOMA, Appellee.
Cross Reference with Oklahoma Supreme Court Case No. 112741
Cite as: 2014 OK CR 3, __  __

ORDER DENYING STAYS OF EXECUTION
¶1 The Oklahoma Supreme Court has again transferred to this Court a joint 
request for stay of execution filed in connection with a civil appeal involving 
Appellants currently pending before that Court. Lockett, et al. v. Evans, et 
al., Case No. 112,741 (April 11, 2014). The recent procedural history of 
this case is lengthy and requires repeating for clarity. This Court set 
execution dates in January 2014 for Lockett and Warner after both death row 
inmates had exhausted their state and federal appeals.1 Both sought and were 
denied executive clemency from the Oklahoma Pardon and Parole Board. On February 
26, 2014, Lockett and Warner filed a civil declaratory judgment action in the 
District Court of Oklahoma County against the Oklahoma Department of Corrections 
(ODOC). Lockett, et al. v. Evans, et al., Case No. CV-2014-330. That 
lawsuit challenged, among other things, the constitutionality of the 
confidentiality provision in 22 O.S.2011, § 1015(B).2 The complaint was 
accompanied by a motion for injunctive relief seeking a stay of their respective 
executions. Because the complaint challenged § 1015(B) on both state and federal 
grounds, ODOC removed the case to federal court. Appellants amended their 
complaint, deleting all federal constitutional claims, and the federal district 
court declined jurisdiction and remanded the case back to state court. 
Appellants filed an amended complaint along with their motion for stay of 
execution. The Honorable Patricia G. Parrish of the District Court of Oklahoma 
County held a hearing on March 10, 2014, and denied Appellants' request for stay 
of execution, finding that "jurisdiction for such matters properly lies with the 
Oklahoma Court of Criminal Appeals." Judge Parrish did not otherwise rule on the 
declaratory judgment action.
¶2 On March 11, 2014, Appellants filed with the Oklahoma Supreme Court a 
petition in error and designation of record to initiate an appeal of Judge 
Parrish's ruling denying the requested stay of execution. See Lockett, et al. 
v. Evans, et al., Case No. 112,639. Appellants also filed with the Oklahoma 
Supreme Court an "Emergency Application for Stay of Execution Pending Outcome of 
Appeal." The next day ODOC filed a response in opposition to Appellants' motion 
for stay of execution. On March 13, 2014, the Oklahoma Supreme Court ruled that 
Judge Parrish had jurisdiction to hear the merits of Appellants' declaratory 
judgment action. That Court declined, however, to grant a stay of execution, 
citing Maynard v. Layden, 1992 OK CR 31, 830 P.2d 581,3 and transferred to this Court Plaintiffs' Emergency 
Application for Stay of Execution Pending Outcome of Appeal. That same day, this 
Court directed briefs from the parties addressing the applicability of 
Malicoat v. State4 and 22 O.S.2011, § 1001.1 to the application for 
stay. In the supplemental briefing, the State announced its inability to procure 
the necessary execution drugs for the impending executions. Based on the State's 
revelation that it lacked execution drugs and could not obtain them, this Court 
on March 18, 2014 vacated Lockett's and Warner's execution dates and reset 
them.5 On March 26, 2014, Judge Parrish ruled from the bench 
that the portion of § 1015(B) making confidential the identity of execution 
participants and those who supply the execution drugs violated Appellants' state 
constitutional right to access to the courts.6 A written order memorializing Judge Parrish's ruling 
was entered on April 1, 2014. Appellants filed in this Court an application for 
stay of execution on April 7, 2014, but did not file an action challenging their 
convictions, death sentences or the constitutionality of the execution protocol. 
The State filed a response that same day, attesting that ODOC had the necessary 
drugs to lawfully carry out Appellants' scheduled executions and had advised 
Appellants of ODOC's newly adopted execution protocol. This Court denied 
Appellants' request for stay of execution on April 9, 2014, on the basis that we 
had no authority to enter a stay under 22 O.S.2011, § 1001.1(C) because there was no 
pending case in this Court. With their executions approaching and their request 
for stay of execution denied by this Court, Appellants filed on April 11, 2014, 
an application for stay of execution in the Oklahoma Supreme Court in connection 
with their appeal of Judge Parrish's adverse ruling of March 26, 2014.7 The State filed a 
response. The Oklahoma Supreme Court transferred the application for stay of 
execution to this Court on April 17, 2014 to decide whether a stay of execution 
should be issued pending the resolution of Appellants' civil appeal before the 
Supreme Court.8 The Supreme Court retained jurisdiction of Appellants' 
appeal of Judge Parrish's adverse ruling. 
¶3 The Court of Criminal Appeals has exclusive appellate jurisdiction in 
criminal cases and may exercise such other and further jurisdiction as may be 
conferred by statute. Okla. Const. art. 7, § 4; 20 O.S.2011, § 40. Our authority to grant a 
stay of execution is limited by 22 O.S.2011, § 1001.1(C).9 The language of § 
1001.1(C) is clear. This Court may grant a stay of execution only when: (1) 
there is an action pending in this Court; (2) the action challenges the death 
row inmate's conviction or death sentence; and (3) the death row inmate makes 
the requisite showings of likely success and irreparable harm. The Supreme 
Court's opinion transferring Appellants' application for stay of execution finds 
that this Court "ignored" subsections (D),10 (E),11 and (F)12 of § 1001.1 in denying Appellants' April 7th application for stay of execution filed in this Court. We 
respectfully disagree based on rules of statutory construction. The primary task 
in construing a statute is to ascertain and give effect to the intent of the 
Legislature. Johnson v. State, 2013 OK CR 12, ¶ 10, 308 P.3d 1053, 1055; Starkey v. Oklahoma Dept. of 
Corrections, 2013 OK 
43, ¶ 34, 305 P.3d 
1004, 1017. To discern that intent, we look first to the language of the 
statute itself, giving the statutory terms their commonly accepted and 
understood meaning. Johnson, 2013 OK CR 12, ¶ 10, 308 P.3d at 1055; W.R. Allison 
Enterprises, Inc. v. CompSource Oklahoma, 2013 OK 24, ¶ 15, 301 P.3d 407, 411-412 (citing State ex rel. Oklahoma 
State Dept. of Health v. Robinson, 2006 OK 99, ¶ 6, 152 P.3d 875, 877-78). In construing statutory 
provisions, specific provisions govern over general ones. See State v. 
Hall, 2008 OK CR 
15, ¶ 29 , 185 P.3d 
397, 404 (citing Lozoya v. State, 1996 OK CR 55, ¶¶ 17-18, 932 P.2d 22, 28-29); Jones v. State ex rel. Office 
of Juvenile Affairs, 2011 OK 105, ¶ 14, 268 P.3d 72, 76.
¶4 It is evident from the plain language of § 1001.1 that the Legislature 
prescribed this Court's authority to grant stays of execution in Subsection (C). 
Although Subsections (D), (E), and (F) refer to stays of execution issued by 
"any state or federal court," these subsections do not specify the conditions 
under which "any state or federal court" may grant a stay, nor do they 
specifically vest authority to do so. These subsections identify this Court by 
name and task us with setting execution dates upon the dissolution or vacation 
of stays issued by other state or federal courts. Subsection (C) vests authority 
in this Court to grant stays of execution and prescribes the conditions under 
which we may do so. It is controlling. While the Oklahoma Supreme Court has 
authority to deem an issue civil and so within its jurisdiction, it does not 
have the power to supersede a statute and manufacture jurisdiction in this Court 
for Appellants' stay request by merely transferring it here. Therefore, 
Appellants' application for stays of execution is DENIED. 
¶5 IT IS SO ORDERED.
¶6 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 18th day of 
April, 2014.
/S/DAVID LEWIS, Presiding Judge
/S/CLANCY SMITH, Vice Presiding Judge
/S/GARY L. LUMPKIN, Judge
/S/CHARLES A. JOHNSON, Judge
/S/ARLENE JOHNSON, Judge 
ATTEST:
/s/Michael S. RichieClerk 
1 Lockett's original execution date was set for March 20, 
2014 and Warner's original execution date was set for March 27, 2014.
2 The confidentiality provision of § 1015 (B) states: 
"The identity of all persons who participate in or administer the execution 
process and persons who supply the drugs, medical supplies or medical equipment 
for the execution shall be confidential and shall not be subject to discovery in 
any civil or criminal proceedings." 
3 In Layden, this Court referenced an Oklahoma 
Supreme Court order that denied a death row inmate's application to assume 
original jurisdiction and petitions for writs of prohibition and mandamus 
because "the punishment, and the amount thereof, is an essential part of the 
judgment in a criminal case and that the carrying out, prohibiting, or staying 
such a judgment is within the exclusive appellate jurisdiction of [the Court of 
Criminal Appeals]." Layden, at ¶ 3, 830 P.2d at 582. Layden dealt 
with statutes (22 O.S.1991, §§ 
1012 &amp; 1013) that have been repealed but the rule enunciated above 
remains valid.
4 2006 OK CR 25, 137 P.3d 1234.
5 Lockett's execution date is set for April 22, 2014 and 
Warner's execution date is set for April 29, 2014. 
6 Judge Parrish denied the balance of Appellants' claims 
in the amended petition. 
7 Appellants appeal Judge Parrish's rulings that (1) 
Section 1014 of Title 22 is not an unconstitutional delegation of legislative 
authority; and (2) the Oklahoma Administrative Procedures Act was not violated 
by ODOC when it enacted its new execution protocol. The State filed its petition 
in error appealing Judge Parrish's ruling finding 22 O.S.2011, § 1015(B) unconstitutional on 
April 18, 2014. 
8 The Supreme Court's opinion urges us "to be cognizant 
of the time restraints associated with the submission of the appeal(s) to this 
Court along with the gravity of the first impression constitutional issues this 
Court will be charged with in addressing the civil appeal, or appeals." 
Lockett et al. v. Evans et al., 2014 OK 28, ¶ 4. ODOC has furnished Appellants with 
the names, dosages and expiration dates of the three drugs it will use for 
execution. Armed with this information, Appellants have failed to challenge the 
new protocol on Eighth Amendment grounds and insist only that the identities of 
the drug suppliers and manufacturers may lead to a basis to challenge 
their death sentences.
9 Section 1001.1(C) states:When an action challenging 
the conviction or sentence of death is pending before it, the Court of Criminal 
Appeals may stay an execution date, or issue any order which effectively stays 
an execution date only upon a showing by the defendant that there exists a 
significant possibility of reversal of the defendant's conviction, or vacation 
of the defendant's sentence, and that irreparable harm will result if no stay is 
issued.
10 Section D provides:Should a stay of execution be 
issued by any state or federal court, a new execution date shall be set by 
operation of law sixty (60) days after the dissolution of the stay of execution. 
The new execution date shall be set by the Court of Criminal Appeals without 
necessity of application by the state, but the Attorney General, on behalf of 
the state, shall bring to the attention of the Court of Criminal Appeals the 
fact of the dissolution of a stay of execution and suggest the appropriateness 
of the setting of a new execution date.
11 Section E provides:After an execution date has been 
set pursuant to the provisions of this section, should a stay of execution be 
issued by any state or federal court, a new execution date shall be set by 
operation of law thirty (30) days after the dissolution of the stay of 
execution. The new execution date shall be set by the Court of Criminal Appeals 
without necessity of application by the state, but the Attorney General, on 
behalf of the state, shall bring to the attention of the Court of Criminal 
Appeals the fact of the dissolution of a stay of execution and suggest the 
appropriateness of setting a new execution date.
12 Section F provides:After an execution date has been 
set pursuant to the provisions of this section, should a stay of execution be 
issued by any state or federal court and then vacated by such court, the 
sentence of death shall be carried out as ordered prior to the issuance of such 
vacated stay of execution. If the prior execution date has expired prior to the 
vacation of the stay of execution, a new execution date shall be set by 
operation of law thirty (30) days after the vacation of the stay of execution. 
The new execution date shall be set by the Court of Criminal Appeals without 
necessity of application by the state, but the Attorney General, on behalf of 
the state, shall bring to the attention of the Court of Criminal Appeals the 
fact of a vacation of the stay of execution and suggest the appropriateness of 
the setting of a new execution date.


SMITH, VICE PRESIDING JUDGE, DISSENTING:
¶1 The majority has set forth an erudite and accurate analysis of this 
Court's jurisdictional restraints. However, I find that whether or not a stay is 
an appropriate exercise of this Court's authority under 22 O.S.2011, § 1001.1., I would grant a stay to 
avoid irreparable harm as the appellants face imminent execution. I would do so 
in consideration of the appellants' rights, to avoid the possibility of a 
miscarriage of justice, and in comity with the Supreme Court's request for time 
to resolve the issues pending before it.
¶2 I am authorized to state that Judge Charles Johnson joins me in this 
dissent.


Lumpkin, J., Specially Concurring:
¶1 I join in the order entered by the Court but write separately to point out 
Appellants' repeated failure to invoke the jurisdiction of this Court prevents 
the Court from reaching any other result.
¶2 On March 13, 2014, the Oklahoma Supreme Court determined only the Court of 
Criminal Appeals has jurisdiction to enter a stay of execution in a death 
penalty case and transferred to this Court part of the matter pending in 
Oklahoma Supreme Court Case No. 112,639. That portion transferred addressed the 
issue of whether a stay should be issued prior to the District Court of Oklahoma 
County considering the pleadings that have been filed in the above cited civil 
matter. This Court ordered the Appellants and the State to provide this Court 
with supplemental briefs and directed the parties to this Court's controlling 
precedent in Malicoat v. State, 2006 OK CR 25, 137 P.3d 1234 and 22 O.S.2011, § 1001.1. Appellants refused the 
opportunity to lawfully file an application for post-conviction relief and 
proceeded with their "civil" claim. Within its supplemental brief, the State 
acknowledged that it did not possess the drugs needed to carry out the lawful 
sentence of death for Appellants. On March 18, 2014, this Court vacated and 
reset the scheduled executions for both Appellants. Appellant Lockett's 
execution was reset to April 22, 2014, and Appellant Warner's execution was 
reset to April 29, 2014.
¶3 On April 7, 2014, Appellants filed their joint Emergency Application for 
Stay of Execution Pending The Appeal From The District Court's Decision with 
this Court but did not file an action challenging their convictions, death 
sentences, or the constitutionality of the execution protocol. Instead, they 
continued to only raise "civil" claims. The State filed a response that same day 
and attested that it had the necessary drugs to lawfully carry out Appellants' 
execution and had advised Appellants concerning the Department of Corrections' 
new execution protocol. On April 9, 2014, we denied Appellants' request for a 
stay and explicitly informed Appellants that this Court was without authority to 
issue a stay without an action pending in this Court.
¶4 Despite this Court's notice to the Appellants of the need to invoke the 
jurisdiction of this Court by filing the appropriate pleadings, and the Oklahoma 
Supreme Court's opinion that only the Court of Criminal Appeals has jurisdiction 
to enter a stay of execution in a death penalty case, on April 14, 2014, 
Appellants, again, sought a stay of execution before the Oklahoma Supreme Court 
in Oklahoma Supreme Court Case No. 112,741. Appellants' appeal only involves 
"civil" claims. On April 17, 2014, the Oklahoma Supreme Court transferred to 
this Court that portion of the issue of whether a stay of execution should be 
issued for both Appellants during the pendency of their appeal before the 
Oklahoma Supreme Court.
¶5 Counsel for Appellants are members of the Oklahoma Bar licensed to 
practice in the state. They are well aware that Oklahoma has a bifurcated 
civil-criminal system of justice. Carder v. Court of Criminal Appeals, 
1978 OK 130, ¶ 1, 595 P.2d 416, 417. The jurisdiction of the Oklahoma 
Court of Criminal Appeals is set forth in Article VII, § 4 of the Oklahoma 
Constitution. The Court of Criminal Appeals has exclusive appellate jurisdiction 
in criminal cases and may exercise such other and further jurisdiction as may be 
conferred by statute. Id.; 20 O.S.2011, § 40 ("The Court of Criminal 
Appeals shall have exclusive appellate jurisdiction, coextensive with the limits 
of the state, in all criminal cases appealed from the district, superior and 
county courts, and such other courts of record as may be established by law."). 
This Court has the authority to determine when it has the power to proceed. 
Duvall v. State, 871 P.2d 1386, 1387-88; 20 O.S.2011, § 42 ("Said Court shall have 
power, upon affidavit or otherwise, to ascertain such matters of fact as may be 
necessary to the exercise of its jurisdiction."); 22 O.S.2011, § 1051 ("The procedure for the 
filing of an appeal in the Court of Criminal Appeals shall be as provided in the 
Rules of the Court of Criminal Appeals . . . which will have the force of 
statute . . . ."). It is the exclusive province of the Oklahoma Court of 
Criminal Appeals to construe state criminal statutes. State v. Tolle, 
1997 OK CR 52, ¶ 5, 945 P.2d 503, 504. The Court of Criminal Appeals 
decisions are governed by the United States Constitution, the Constitution of 
the State of Oklahoma, duly enacted statutes, and controlling precedent 
concerning these authorities. See Carder, 1978 OK 130, ¶ 20, 595 P.2d at 420 ("There is no 
appeal or proceeding in error from the Court of Criminal Appeals to this 
Court."). The Court of Criminal Appeals is respectful of the Oklahoma Supreme 
Court's well-reasoned opinions, in all instances, but as the state appellate 
court with exclusive jurisdiction in criminal matters, the Court of Criminal 
Appeals must announce and apply principled rules to guide the state's citizens, 
trial courts, and criminal litigators as to criminal matters. Young v. 
State, 1999 OK CR 
14, ¶ 17, 989 P.2d 
949, 953.
¶6 Appellants' litigation is intended to take advantage of our bifurcated 
system of justice. However, I note that the Justices of the Oklahoma Supreme 
Court work hand-in-hand with the Judges that serve on this Court. Over 35 years 
ago, Justice Simms writing for the Oklahoma Supreme Court noted the relationship 
between the two courts:
It speaks well of our bifurcated civil-criminal appellate system that there 
has not been a jurisdictional conflict between this Court and the Court of 
Criminal Appeals for more than fifty years. This scarcity of conflict is a 
testament to both the clarity of jurisdictional boundaries between the two 
Courts and the constant willingness of the members of each Court to observe and 
comply with their jurisdictional restrictions.
Carder, 1978 OK 
130, ¶ 1, 595 P.2d at 417-18.
¶7 Both the Court of Criminal Appeals and the Oklahoma Supreme Court have 
determined how issues like these should proceed. As a general rule, a civil 
order will neither interfere to prevent the enforcement of a valid criminal 
judgment of conviction nor restrain or relieve the execution of a valid criminal 
sentence. Maynard v. Layden, 1992 OK CR 31, ¶¶ 7-10, 830 P.2d 581, 583. In Maynard, this Court 
stated:
Brewer has the right to file a civil rights action and, if his complaints are 
valid, to obtain an injunction in such an action. However, the breadth of such 
an action, including the remedies available thereunder, is not unlimited and, as 
a general rule, cannot affect or apply to criminal actions, including the 
imposition of criminal punishment. See Rogers v. Douglas, 
72 P.2d 823, 825 (Okla.1937) Such is 
true especially where the criminal law provides a statutory remedy to prohibit 
the wrong or injury for which redress is sought by injunction. See Id.; 
Independent School District No. 9 of Tulsa County v. Glass, 
639 P.2d 1233, 1237 (Okla.1982). 

Id., 1992 OK CR 
31, ¶ 7, 830 P.2d at 583. In Rogers, the Oklahoma Supreme Court held 
that a district judge was without jurisdiction to issue a temporary restraining 
order enjoining enforcement of a criminal statute that had not been shown to be 
invalid. Maynard, 1992 OK CR 31, ¶ 7 n.1, 830 P.2d at 583 n.1, citing 
Rogers v. Douglas, 1937 OK 569, 72 P.2d 823. Where there is a forum and a remedy for a 
capital defendant to prohibit the execution of a judgment of death, an 
injunction emanating from an alternative forum is not necessary to effectuate 
such relief and is an impermissible intrusion upon criminal proceedings. 
Maynard, 1992 OK CR 
31, ¶ 8, 830 P.2d at 583.
¶8 Appellants have a forum to challenge the validity of their convictions, 
sentences and the execution protocol. In no way, have Appellants been denied 
access to the courts. Excluding a timely direct appeal, any challenge to a 
sentence of death is governed by the Capital Post-Conviction Procedure Act, 
22 O.S.2011, § 1089. See 
22 O.S.2011, § 1080. This Court has 
previously determined that the proper method to object to the setting of an 
execution date or request a stay of execution is to file an application for 
post-conviction relief with the Court of Criminal Appeals. Malicoat v. 
State, 2006 OK CR 
25, 137 P.3d 
1234; Torres v. State, 2002 OK CR 35, 58 P.3d 214; Valdez v. State, 2002 OK CR 20, 46 P.3d 703. This includes any challenge to the 
execution protocol. Id. The Rules of the Court of Criminal Appeals apply 
to all appeals and proceedings before the Oklahoma Court of Criminal Appeals. 
Rule 1.0(A), Rules of the Oklahoma Court of Criminal Appeals, Title 22, 
Ch. 18, App. (2014). Both § 1089 and Rule 9.7, Rules of the Oklahoma Court of 
Criminal Appeals, Title 22, Ch. 18, App. (2014), set forth the requirements 
for a properly filed application for post-conviction relief. Our rules and 
decisions permit discovery in capital post-conviction proceedings. Bland v. 
State, 1999 OK CR 
45, ¶ 3, 991 P.2d 
1039, 1040. The Court of Criminal Appeals has the authority to grant a stay 
of execution of a sentence of death pursuant to 22 O.S.2011, § 1001.1.
¶9 However, Appellants have repeatedly refused to invoke the jurisdiction and 
power of the Court to act. It is a fundamental axiom of jurisprudence that a 
party must first file an action to have access to the court. Buis v. 
State, 1990 OK CR 
28, ¶ 4, 792 P.2d 
427, 429 (holding court may only exercise jurisdiction of justiciable matter 
through filing of pleadings sufficient to invoke power of the court to act). 
Despite repeated invitations from this Court for Appellants to file pleadings to 
invoke the jurisdiction of this Court, Appellants have failed to do so.
¶10 I have the utmost faith that if Appellants had a meritorious challenge to 
their convictions, sentences of death or the execution protocol, that the 
Oklahoma Indigent Defense System would ably represent them pursuant to § 
1089(B). I note that in each of the Appellants' cases, the District Court 
appointed the Oklahoma Indigent Defense System to represent them in seeking 
post-conviction relief. Attorneys from the Oklahoma Indigent Defense System have 
previously appeared in each of the Appellants' post-conviction proceedings. 
Lockett v. State, unpub. dispo. PCD-2002-631, (Okl. Cr. October 22, 
2002); Warner v. State, unpub. dispo. PCD-2003-897 (Okl. Cr. December 20, 
2006). Those attorneys understand and follow the procedure the Oklahoma 
Legislature has established for the review of sentences involving the death 
penalty. The District Courts' orders appointing the Oklahoma Indigent Defense 
System remain valid. In light of Appellants' repeated refusals to file an action 
in this Court I am forced to conclude that Appellants' "civil" pleadings are 
nothing more than an attempt to cause a delay in their lawful execution. Since 
the jurisdiction of this Court has not been properly invoked, this Court cannot 
issue a stay of execution.




	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	None Found.Citationizer: Table of AuthorityCite
		Name
		Level
	Oklahoma Court of Criminal Appeals Cases&nbsp;CiteNameLevel&nbsp;1990 OK CR 28, 792 P.2d 427, BUIS v. STATEDiscussed&nbsp;1992 OK CR 31, 830 P.2d 581, MAYNARD v. LAYDENDiscussed at Length&nbsp;1994 OK CR 19, 871 P.2d 1386, DUVALL v. STATECited&nbsp;1996 OK CR 55, 932 P.2d 22, Benjamin Lozoya v. StateDiscussed&nbsp;2002 OK CR 20, 46 P.3d 703, VALDEZ v. STATEDiscussed&nbsp;2002 OK CR 35, 58 P.3d 214, TORRES v. STATEDiscussed&nbsp;2006 OK CR 25, 137 P.3d 1234, MALICOAT v. STATEDiscussed at Length&nbsp;2008 OK CR 15, 185 P.3d 397, STATE v. HALLDiscussed&nbsp;2013 OK CR 12, 308 P.3d 1053, JOHNSON v. STATEDiscussed at Length&nbsp;1999 OK CR 45, 991 P.2d 1039, Bland v. StateDiscussed&nbsp;1997 OK CR 52, 945 P.2d 503, 68 OBJ        3135, State v. TolleDiscussed&nbsp;1999 OK CR 14, 989 P.2d 949, 70 OBJ        1076, State v. YoungDiscussedOklahoma Supreme Court Cases&nbsp;CiteNameLevel&nbsp;1937 OK 569, 72 P.2d 823, 181 Okla. 32, ROGERS v. DOUGLASSDiscussed at Length&nbsp;2006 OK 99, 152 P.3d 875, STATE ex rel. OKLA. STATE DEPT. OF HEALTH v. ROBERTSONDiscussed&nbsp;2011 OK 105, 268 P.3d 72, JONES v. STATEDiscussed&nbsp;2013 OK 24, 301 P.3d 407, W.R. ALLISON ENTERPRISES, INC. v. COMPSOURCE OKLAHOMADiscussed&nbsp;2013 OK 43, 305 P.3d 1004, STARKEY v. OKLAHOMA DEPARTMENT OF CORRECTIONSDiscussed&nbsp;2014 OK 28, LOCKETT v. EVANSCited&nbsp;1978 OK 130, 595 P.2d 416, CARDER v. COURT OF CRIMINAL APPEALSDiscussed at Length&nbsp;1982 OK 2, 639 P.2d 1233, Independent School Dist. No. 9 of Tulsa County v. GlassCitedTitle 20. Courts&nbsp;CiteNameLevel&nbsp;20 O.S. 40, Exclusive Appellate JurisdictionDiscussed&nbsp;20 O.S. 42, Power to Ascertain Jurisdictional FactsCitedTitle 22. Criminal Procedure&nbsp;CiteNameLevel&nbsp;22 O.S. 1001.1, Time for Execution of Judgment Imposing Death Sentence - Stay of ExecutionDiscussed at Length&nbsp;22 O.S. 1012, Repealed by Laws 1992, HB 2268, c. 106, § 3, eff. September 1, 1992Cited&nbsp;22 O.S. 1015, Execution of Judgment of Death - Location - ProcedureDiscussed&nbsp;22 O.S. 1051, Right of Appeal - Review - Corrective Jurisdiction - Procedure - Scope of Review on CertiorariCited&nbsp;22 O.S. 1080, Post-Conviction Procedure Act - Right to Challenge Conviction or Sentence.Cited&nbsp;22 O.S. 1089, Post-Conviction Relief for Death Penalty Conviction - Grounds for AppealCited


				
					
					
				
             
         
        
            

		